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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA


   UNITED STATES OF AMERICA,
                   Plaintiff,
                                                                   CASE NO: 4:16MJ3020
           vs.

   CRISTOBAL I. YUCUPICIO,                                          DETENTION ORDER
                   Defendant.

       The defendant is charged with a drug crime under the Controlled Substances Act (21 U.S.C. §
801 et seq.), for which the defendant could be required to serve ten or more years in prison. On the
government's motion, the court held a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f).
The court concludes the defendant must be detained pending disposition of this case.

        There is a rebuttable presumption that no condition or combination of conditions of release will
reasonably assure the defendant’s appearance at court proceedings and the safety of the community
because there is probable cause to believe the defendant committed a drug crime under the Controlled
Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be required to serve ten or more
years in prison. The defendant has not rebutted this presumption.

        Based on the evidence presented and information of record, the court finds by a preponderance
of the evidence that the defendant's release would pose a risk of nonappearance at court proceedings,
and by clear and convincing evidence that the defendant's release would pose a risk of harm to the public

         Specifically, the court finds that the defendant has a criminal record which indicates a propensity
to violate the law and court orders; uses illegal drugs and is likely to continue such conduct and violate
the law if released; has substantial contacts with a foreign country and could flee the country before
trial; lacks a stable residence; is the subject of three active Arizona warrants for failing to appear and
violating court orders; has an extensive history of failing to appear at court proceedings; and conditions
which restrict Defendant’s travel, personal contacts, and possession of drugs, alcohol, and/or firearms;
require reporting, education, employment, or treatment; or monitor Defendant’s movements or conduct;
or any combination of these conditions or others currently proposed or available (see 18 U.S.C. §
3142(c)), will not sufficiently ameliorate the risks posed if the defendant is released.

                                   Directions Regarding Detention

       The defendant is committed to the custody of the Attorney General or a designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or held in custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of the United States Court or on request
of an attorney for the Government, the person in charge of the corrections facility must deliver the
defendant to the United States marshal for a court appearance.

       Dated March 10, 2016.

                                                         BY THE COURT:
                                                         s/ Cheryl R. Zwart
                                                         United States Magistrate Judge
